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 6                               UNITED STATES DISTRICT COURT
 7                                   DISTRICT OF ARIZONA
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 9   Jade Solis, A Single Woman; Rachel           No. 4:10-CV-484-TUC-DCB
     Corella, Individually and on behalf of her
10   minor children JS and MS; Geraldo            ORDER
     Quiroz, a single man; Justo SOLIS, a
11   single man;                                  (Assigned to Hon. David Bury)
12                 Plaintiffs,
13           vs.
14   Bridgestone Corporation, a Japanese
     corporation; Bridgestone Americas, Inc., a
15   Nevada corporation; Bridgestone Americas
     Tire Operations, LLC, a Delaware limited
16   liability company; Wal-Mart Stores Inc. a
     Delaware corporation; John Does I-V; Jane
17   Does I-V; ABC Corporations I-V; XYZ
     Partnerships I-V, Inc., Inclusive;
18
                   Defendants.
19

20           Pursuant to the Motion to Dismiss filed by Defendants Bridgestone Americas Tire
21   Operations, LLC and Bridgestone Americas, Inc., IT IS HEREBY ORDERED dismissing
22   all claims against Bridgestone Corporation, Bridgestone Americas Tire Operations, LLC
23   /////
24   /////
25   /////
26   /////
27   /////
28   /////
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       1   and Bridgestone Americas, Inc. with prejudice, with each party to bear its costs and
       2   attorneys’ fees.
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       4          Dated this 24th day of February, 2014.
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LAW   28


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